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 5
                               UNITED STATES DISTRICT COURT
 6                            WESTERN DISTRICT OF WASHINGTON
                                        AT SEATTLE
 7

 8   IAN PERRY,

 9                             Plaintiff,                CASE NO. 2:20-cv-01622-RSM-BAT

10           v.                                          AMENDED ORDER GRANTING
                                                         STIPULATED MOTION TO
11   STATE OF WASHINGTON, et al.,                        EXTEND DEADLINE FOR
                                                         MEDIATION
12                             Defendants.

13          Pursuant to the parties’ Stipulated Motion to Extend Deadline (Dkt. 43) and for good
14   cause shown, it is ORDERED that the motion (Dkt. 43) is GRANTED. The parties’ deadline to
15   complete mediation is extended to January 28, 2022.
16          DATED this 19th day of November, 2021.
17

18                                                      A
                                                        BRIAN A. TSUCHIDA
19                                                      United States Magistrate Judge

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     AMENDED ORDER GRANTING
     STIPULATED MOTION TO EXTEND
     DEADLINE FOR MEDIATION - 1
